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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 May 19, 2020


 To:      Thomas G. Bruton
          Clerk of Court

 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 20-1843

                    Caption:
                    IN RE:
                      CHICAGO BOARD OPTIONS EXCHANGE VOLATILITY INDEX
                      MANIPULATION ANTITRUST LITIGATION

                    APPEAL OF: BRIAN BARRY, et al.


                    District Court No: 1:18-cv-04171
                    Court Reporter Rosemary Scarpelli
                    Clerk/Agency Rep Thomas G. Bruton
                    District Judge Manish S. Shah

                    Date NOA filed in District Court: 05/19/2020


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)
